      Case 3:15-cr-01739-JM   Document 50   Filed 07/23/15   PageID.80   Page 1 of 1
                                                                         FILED
                       UNITED STATES DISTRICT COUR~        JUL 232015
                     SOUTHERN DISTRICT OF CALIFORN A CLERK, u.s. DISTRICT COURT
                                                                SOUTHERN DISTRICT O~ALlFORNIA
                                                                BY            ~        DEPUTY

UNITED STATES OF AMERICA,                   CASE NO. 15CR1739-JM

                       Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL
MAILIE KAHAUNANI BONI

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

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 X__ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

     of the offense(s) as charged in the Indictment/Information:




           IT IS THEREFORE ADJUDGED that the defendant is hereby discharged .


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 DATED: 7/23/15
                                            Peter C. Lewis
                                            U.S. Magistrate Judge
